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                                                                                          FILED
                                                                              United States Court of Appeals
                         UNITED STATES COURT OF APPEALS                               Tenth Circuit

                               FOR THE TENTH CIRCUIT                               February 25, 2015
                           _________________________________
                                                                                  Elisabeth A. Shumaker
                                                                                      Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                              No. 15-1056
                                                       (D.C. No. 1:13-CR-00392-CMA-2)
  JOHN J. PAWELSKI,

        Defendant - Appellant.
                        _________________________________

                                        ORDER
                           _________________________________

         Although the district court entered judgment on February 19, 2015, this appeal

  remains abated. The defendant filed a motion to dismiss on February 8, 2015, district

  court docket no. 420, and that motion is still pending before the district court. See Fed. R.

  App. P. 4(b)(3).

         The parties shall notify this court in writing within 10 days of entry of an order by

  the district court ruling on the pending motion. The district clerk shall file a supplemental

  preliminary record once the court rules on the motion.

         The parties shall file status reports within 30 days of the date of this order if the

  district court has not ruled on the motion by that time.


                                                 Entered for the Court
                                                 ELISABETH A. SHUMAKER, Clerk


                                                 by: Ellen Rich Reiter
                                                     Jurisdictional Attorney
